Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 1 of 17 PageID 477




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

   NUVASIVE, INC.                         )
                                          )
               Plaintiff,                 )
                                          )
   v.                                     )                     Civil Case No. 6:17-cv-2206-Orl-41GJK
                                          )
   ABSOLUTE MEDICAL, LLC, GREG            )                     INJUNCTIVE RELIEF SOUGHT
   SOUFLERIS, and DAVE HAWLEY,            )
                                          )
               Defendants,                )
   _______________________________________)

                      NUVASIVE, INC.’S PRE-HEARING MEMORANDUM

           Plaintiff NuVasive, Inc. (“NuVasive”), submits this memorandum in advance of the

   May 29, 2018 evidentiary hearing 1 on its request that the Court preliminarily enjoin

   Defendant Absolute Medical, LLC (“Absolute Medical”), from violating the restrictive

   covenants contained in the January 1, 2017 Exclusive Sales Representative Agreement, as

   amended by the July 1, 2017 Territory Transition Agreement (the “Agreement”) which the

   parties agree governs their relationship. (Compl., Doc. 1, at ¶ 8; Ans., Doc. 26, at ¶ 8; Singer

   Dec., Doc. 19-1, at Ex. A; Singer Sec. Dec., Doc. 48-1, at Ex. A).




   1
     When ruling on a preliminary injunction, “the evidentiary rules are relaxed. A court may rely on affidavits
   and hearsay materials that would not [be] admissible evidence for a permanent injunction, so long as the
   evidence is appropriate given the character and purpose of the injunction proceedings.” E.g., Caron Found. of
   Fla., Inc. v. City of Delray Beach, 879 F. Supp. 2d 1353, 1360 (S.D. Fla. 2012) (internal citations omitted).
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 2 of 17 PageID 478




                                              INTRODUCTION

           This Court’s May 15, 2018 Order (Doc. 58) set this evidentiary hearing to determine

   the enforceability of the Agreement’s restrictive covenants. 2 As noted on page 6 of the

   Order, this involves a determination of whether NuVasive first materially breached the

   Agreement so as to excuse Absolute Medical’s adherence to those covenants.                             If—as

   Absolute Medical now concedes—no such breach exists, they are enforceable so long as: (a)

   their duration is reasonably limited temporally; (b) their scope is reasonably limited

   geographically; (c) their purpose is to protect NuVasive’s legitimate interests; and (d) they

   operate to protect NuVasive’s legitimate interests.

           As the undisputable facts establish that the Agreement’s restrictive covenants are, in

   fact, enforceable, a preliminary injunction should issue. Further, as shown in Section C of

   this Memorandum, NuVasive recently obtained facts which prove the Court should extend

   the injunction to Absolute Medical’s successor entity, Absolute Medical Systems, LLC

   (“AMS”), its former sales representatives—Defendant Dave Hawley (“Hawley”) and Ryan

   Miller (“Miller”)—and its sole member, Defendant Greg Soufleris (“Soufleris”). These facts

   prove, without limitation, that:

           (a) contrary to Soufleris’ and Hawley’s untruthful statements, the former Absolute
               Medical sales representatives are subject to contracts that contain non-competition
               and non-solicitation agreements;

           (b) Soufleris dissolved Absolute Medical only three months after NuVasive paid it
               nearly $640,000 for a territory reduction;



   2
    The restrictive covenants at issue are found in Section 5.09 of the Agreement. (Singer Dec., Doc. 19-1, at Ex.
   A § 5.09). They include obligations not to compete, not to solicit customers or employees, and to ensure that
   Absolute Medical requires all of its sales representatives to sign agreements which contain non-compete and
   non-solicitation provisions. (Id. at § 5.09(c), (e)).




                                                         2
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 3 of 17 PageID 479




          (c) according to Soufleris, the former Absolute Medical sales representatives who
              joined him at AMS—Hawley and Miller—sold approximately $633,000 worth of
              NuVasive products and earned nearly $125,000 in commissions in November
              2017—the month Soufleris “resigned” from the Agreement and dissolved
              Absolute Medical; and

          (d) Soufleris’ new entity, AMS, sells the same type of products sold by Absolute
              Medical, to the same customers, through the same sales representatives (who
              continue to use their Absolute Medical email addresses).

   Accordingly, the Court should extend the preliminary injunction to AMS, the sales

   representatives who moved from Absolute Medical to AMS, and Soufleris.

                      SUMMARY OF RELEVANT FACTS AND LAW

          NuVasive intends to present evidence at the hearing which establishes that:

          (a) it did not materially breach the Agreement before Absolute Medical, through its
              sole member, Soufleris, improperly “resigned” from the Agreement;

          (b) the Agreement’s restrictive covenants are valid and enforceable; and

          (c) Soufleris is unlawfully attempting to avoid Absolute Medical’s and its former
              sales representatives’ non-competition obligations by: (i) dissolving Absolute
              Medical and forming a new company which utilizes the same sales
              representatives to sell competitive products to the same customers; and (ii)
              making false statements to NuVasive and the Court about the existence of those
              sales representative’s restrictive covenants.

   Respectfully, this showing warrants the issuance of a preliminary injunction which prohibits

   Absolute Medical, its former sales representatives, and Soufleris from competing with

   NuVasive within Absolute Medical’s former sales territory.




                                                3
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 4 of 17 PageID 480




       A. NuVasive did not materially breach the Agreement so as to excuse Absolute
          Medical’s performance.

           First, Absolute Medical concedes that NuVasive did not materially breach the

   Agreement prior to November 27, 2017—the date it “resigned” from the Agreement. 3

   Therefore, the Court can move to the issue of whether the Agreement’s restrictive covenants

   are reasonable.

       B. The Agreement’s restrictive covenants are reasonable and enforceable.

           In fact, the restrictive covenants are valid and enforceable under Delaware law as

           they:

           (a) contain reasonable, one year temporal restrictions;




   3
    Absolute Medical’s counsel conceded this point to NuVasive’s counsel in a May 21, 2018 telephone call.
   This concession is consistent with Absolute Medical’s responses to interrogatories 9 and 10, which provide:

           Interrogatory 9 – Please refer to Exhibit A to NuVasive’s Complaint for Injunctive Relief and
           Damages and the Agreement, and identify every provision in the Agreement that allows you
           to “resign” from the Agreement.

           RESPONSE: Section 9.02 of the Sales Agreement allows Defendant to terminate the
           agreement due to a material breach.

           Interrogatory 10 – If you contend NuVasive breached one or more of the allegations imposed
           on it by the Agreement, please state:

                     (a)    the date of the breach;
                     (b)    the contractual provision that NuVasive breached; and
                     (c)    a detailed summary of the breach.

           RESPONSE: Plaintiff breached Article II of the Sales Agreement by failing to pay
           commissions due and owing to Defendant for November 2017 and any subsequent sales.
           Defendant suffered damages in the amount of $124,970.02 for Plaintiff’s failure to pay
           earned commissions. Pursuant to Fed. R. Civ. P. 33(d), Defendant directs Plaintiff to
           view the Commissions Chart attached hereto as Exhibit “A.”

   (Ab. Med. Interrog. Resp. at ¶¶ 9–10, Ex. A, attached as Exhibit 1). These interrogatory responses establish
   that Absolute Medical’s claimed breach of the Agreement—the non-payment of commissions—occurred after
   Absolute Medical “resigned” from the Agreement. Further, as noted in NuVasive’s reply brief, the Agreement
   specifically gives NuVasive the right to withhold commissions.




                                                        4
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 5 of 17 PageID 481




          (b) contain reasonable geographic scopes as they are limited to Absolute Medical’s
              sales territory;

          (c) protect NuVasive’s legitimate interests as NuVasive provided Absolute Medical
              with specialized training and trade secrets, and allowed it to serve as the face of
              NuVasive to NuVasive’s customers; and

          (d) operate to protect those interests as the one year restriction provides NuVasive
              with an appropriate period of time to protect its goodwill by introducing new sales
              representatives to its customers while allowing Absolute Medical to sell
              competing products outside of its NuVasive sales territory.

   See, e.g., Kan Di Ki, LLC v. Suer, No. 7937-VCP, 2015 WL 4503210, at *19 (Del. Ch. July

   22, 2015). Indeed, Section 5.09(f) contains Absolute Medical’s agreement that the restrictive

   covenants are reasonable and necessary to protect NuVasive’s legitimate interests, and

   neither Absolute Medical’s response (Doc. 38) nor its surreply (Doc. 53) in opposition to the

   motion for preliminary injunction claim that the restrictive covenants are not valid and

   enforceable.

          Further, in accord with Delaware law, Section 12.07 of the Agreement (Singer Dec.,

   Doc. 19-1, at Ex. A) provides, in relevant part, that:

          [I]f a court holds that the duration, scope, geographic range, or any other
          restriction stated in any provision of this Agreement is unreasonable under
          circumstances then existing, the Parties agree that the maximum duration,
          scope, geographic range, or other restriction that the court deems reasonable
          under such circumstances will be substituted and that the court will have the
          power to revise any of those restrictions to cover the maximum period, scope,
          geographic range, and/or other restriction permitted by law.

   Knowles-Zeswitz Music, Inc. v. Cara, 260 A.2d 171, 175 (Del. Ch. 1969) (stating that

   Delaware follows the “modern view” that a restrictive covenant should be enforced to the

   extent that it is reasonable to do so). Accordingly, if a restriction is overly broad, the Court

   should revise it so as to make it enforceable.




                                                    5
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 6 of 17 PageID 482




      C. Recently discovered evidence shows that the Court should extend the non-
         compete to Absolute Medical’s successor in interest, AMS, as well as to the
         former Absolute Medical sales representatives who are subject to non-compete
         agreements, and to Soufleris.

          Finally, NuVasive received a significant amount of information in the last two weeks

   which demonstrates that the Court should extend the preliminary injunction to Absolute

   Medical’s successor entity, AMS, as well as its former Absolute Medical sales

   representatives (Hawley and Miller), and Soufleris.       Discovery and subpoena responses

   provided by Absolute Medical on May 11, 2018, Hawley on May 14 and 22, 2018, and AMS

   on April 26, 2018, as well as NuVasive’s recent discovery that Soufleris and Hawley made

   false statements about the existence of certain sales representatives’ (including Hawley’s and

   Miller’s) restrictive covenants, demonstrate that Soufleris is unlawfully attempting to avoid

   Absolute Medical’s non-competition obligations by dissolving that entity and forming a new

   one which utilizes Absolute Medical’s former sales representatives to sell competitive

   products to the same customers to whom Absolute Medical previously sold NuVasive

   products. As part of this scheme, Soufleris and Hawley consistently and falsely claimed—

   under oath and penalty of perjury—that some of Absolute Medical’s sales representatives,

   including Hawley and Miller, refused to sign non-compete agreements and that such

   agreements do not exist.

      1. NuVasive’s requested preliminary injunction should extend to AMS as Absolute
         Medical’s successor in interest.

           Florida courts recognize that a successor entity can be liable for the obligations of its

   predecessor if “(1) the successor expressly or impliedly assumes obligations of the




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Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 7 of 17 PageID 483




   predecessor, (2) the transaction is a de facto merger, 4 (3) the successor is a mere continuation

   of the predecessor, or (4) the transaction is a fraudulent effort to avoid liabilities of the

   predecessor.” Etkin & Co. v. SBD, LLC, No. 11-21321-CIV-LENARD/GOODMAN, 2015

   WL 11714357, at *6 (S.D. Fla. Sep. 1, 2015) (quoting Bernard v. Kee Mfg. Co., 409 So. 2d

   1047 (Fla. 1982)). Under the mere continuation theory, 5 courts impose liability when the

   successor entity is “merely a continuation or reincarnation of the predecessor under a

   different name.” Amjad Munim, M.D., P.A. v. Azar, 648 So. 2d 145, 154 (Fla. 4th DCA

   1994); TTT Foods Holding Co. Ltd. Liab. Co. v. Namm, No. 16-cv-81798, 2017 WL

   2901329, at *5–7 (S.D. Fla. May 19, 2017) (holding the successor entity of an LLC, which

   became insolvent after plaintiff obtained a judgment, was a mere continuation of the

   predecessor entity, because the LLC and the predecessor entity shared the same office

   location, customers, manufacturers, freight companies, products, and member-manager).

   Stated another way, liability attaches when the successor entity “is merely a ‘new hat’ for the

   seller, with the same or similar management and ownership.” Id. at 154 (citations omitted);

   see also Matrix Essentials v. Quality King Distribs., Inc., 346 F. Supp. 2d 384, 391

   (E.D.N.Y. 2004) (“Where mere ‘superficial’ changes in corporate name or form have been

   made, the court may enforce an injunction against a successor to the bound corporation.”).

   4
       As noted in Amjad Munim, M.D., P.A. v. Azar, 648 So. 2d at 153–54:

              [A] de facto merger occurs where one corporation is absorbed by another, but without
              compliance with the statutory requirements for a merger. To find a de facto merger there must
              be continuity of the selling corporation evidenced by the same management, personnel, assets
              and physical location; a continuity of the stockholders, accomplished by paying for the
              acquired corporation with shares of stock; a dissolution of the selling corporation; and
              assumption of the liabilities. All of the events, such as dissolution, need not occur at the same
              time.
   5
     At this time, NuVasive believes that the mere continuation theory is most appropriate but acknowledges that
   there are a host of veil piercing arguments that could be relevant to this scenario.




                                                             7
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 8 of 17 PageID 484




   The main inquiry is “whether there has been a change in form, but not in substance.” Lab.

   Corp. of Am. v. Prof’l Recovery Network, 813 So. 2d 266, 270 (Fla. 5th DCA 2002); Oman

   Int’l Fin. Ltd. v. Hoiyong Gems Corp., 616 F. Supp. 351, 361 (D.C.R.I. 1985) (“The bottom-

   line question is whether each entity has run its own race, or whether there has been a relay-

   style passing of the baton from one to the other.”). Continuity of the successor entity is

   evidenced by “‘such things as the same management, personnel, assets, location and

   stockholders.’” TTT Foods Holding Co., 2017 WL 2901329, at *5 (quoting Munim, 648 So.

   2d at 154).

          In Munim, a company with a single shareholder signed a doctor to a three-year

   contract, which included a non-compete provision. Munim, 648 So. 2d at 148. After the

   company terminated him, the doctor started a competing medical practice. Id. The company

   sued the doctor and the medical practice for breach of the covenant not to compete. Id.

   Twelve days after the court entered a judgment for the company, the doctor started a second

   medical practice, which “looked curiously like the old [medical practice].” Id. at 150. The

   Fourth District Court of Appeal affirmed the lower court’s imposition of liability against the

   second medical practice because the doctor’s first medical practice ceased business shortly

   after the judgment and the second medical practice began rendering services the next day; the

   doctor was the sole shareholder of both the first and second medical practices; both medical

   practices rendered the same type of medical services; and both medical practices used the

   same files, nurses, clerical help, and office manager. Id. at 154.

          The situation at bar is strikingly similar to the one in Munim. Soufleris is the

   president and registered agent of Absolute Medical and AMS; as well as Absolute Medical’s




                                                  8
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 9 of 17 PageID 485




   sole member and, upon information and belief, AMS’ sole member. (Soufleris Dec., Doc.

   38-1, at ¶ 2; Ab. Med. Art. Org., attached as Exhibit 2; AMS Art. Org. and 2018 Fla. LLC

   Ann. Rep., attached as collective Exhibit 3). He formed AMS on November 30, 2017—

   three days after Absolute Medical “resigned” from the Agreement—and then dissolved

   Absolute Medical on February 27, 2018. 6 (Soufleris Dec., Doc. 38-1, at ¶¶ 13–15; Exhibit 3

   at Art. IV).

            Further, Absolute Medical’s interrogatory responses state that its last NuVasive sale

   took place on December 3, 2017, and that it has made no Alphatec sales. (Exhibit 1 at ¶¶ 13–

   14). However, AMS’ response to a subpoena issued by NuVasive acknowledges that it has

   contracts with Alphatec, Soufleris, Hawley, and Miller—but refuses to produce them.

   (Exhibit 4 at ¶¶ 2, 5–8). Consistent with these responses, Hawley’s interrogatory responses

   state that he made his last NuVasive sale (presumably on behalf of Absolute Medical) on

   December 1, 2017, and that his first Alphatec sale (presumably on behalf of AMS) took place

   on December 5, 2017. (Hawley Interrog. Resp., attached as Exhibit 6, at ¶¶ 6–7).

            Similarly, Absolute Medical’s responses to NuVasive’s request for production claim

   that it possesses no communications that were sent to or received from Dr. Paul Sawin since

   June 1, 2017. (Exhibit 5 at ¶ 4).                    But AMS’ subpoena response acknowledges

   communications with Dr. Sawin and other surgeons to whom Absolute Medical made sales

   6
     Absolute Medical’s dissolution date is reflected on an electronic report available on Sunbiz.org. Despite these
   indicators that Soufleris dissolved Absolute Medical solely to avoid its contractual obligations to NuVasive,
   AMS—after Absolute Medical’s lawyers accepted a subpoena directed to it—refused to produce documents
   related to, among others: (a) transactions between it and Absolute Medical; (b) its initial capitalization; or (c)
   contracts that were assigned to it. (Subpoena Resp., attached as Exhibit 4, at ¶¶ 9, 11, 18). Similarly, Absolute
   Medical refuses to produce any documents relevant to its financial condition. (Ab. Med. Req. Prod. Resp.,
   attached as Exhibit 5, at ¶¶ 5–12). NuVasive filed a motion to compel AMS’ responses to the subpoena after
   an unsuccessful meet and confer session (Mot. Comp., Doc. 57) and anticipates filing a motion to compel
   Absolute Medical’s responses.




                                                           9
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 10 of 17 PageID 486




    in November 2017—Drs. Rafael Allende, Paul Rodas, and Matthew Burry—yet it refuses to

    produce them. (Exhibit 4 at ¶¶ 13–17; Exhibit 1 at Ex. A). These communications are

    particularly relevant as the former Absolute Medical sales representatives use the same email

    addresses while working for AMS that they used while working for Absolute Medical. 7

        2. The Court should extend the requested preliminary injunction to those sales
           representatives who Soufleris and Hawley falsely claimed are not subject to non-
           compete agreements.

            An additional reason for extending the injunction to Hawley and Miller is that, in

    contrast to Soufleris’ and Hawley’s consistent misrepresentations, NuVasive recently

    discovered several 2013 Contractor Agreements which are governed by Florida law and

    contain reasonable non-competition and non-solicitation obligations between Absolute

    Medical and its sales representatives including, without limitation, Hawley and Miller.

    (Tyree Dec., attached as Exhibit 7, at ¶¶ 4–5, Exs. A–D). As NuVasive is a third-party

    beneficiary of these agreements, it can enforce them in the event Absolute Medical refuses to

    do so. Found Health v. Westside EKG Assoscs., 944 So. 2d 188, 194–95 (Fla. 2006) (stating

    that a third-party beneficiary of a contract establishes a cause of action by proving: (a) the

    existence of a contract; (b) the clear or manifest intent of the contracting parties that the

    contract primarily and directly benefit the third party; 8 (c) breach of the contract by the

    contracting party; and (d) damages to the third party resulting from the breach).


    7
      The Agreement’s Key Terms Summary reveals that the email Soufleris utilized for Absolute Medical—which
    ends in “absolute-med.com”—is the same he used to send Absolute Medical’s November 27, 2017
    “resignation” email. (Singer Dec., Doc. 19-1, at Ex. A, Ex. B). Likewise, on December 12, 2017—eleven days
    after his last NuVasive sale and seven days after his first Alphatec sale—Hawley used an email address ending
    with “absolute-med.com” in a December 12, 2017 email to Alphatec. (Id. at Ex. C).
    8
     This element is met when the “pre-contract dealings of the parties, the contract itself, and the subsequent
    dealings between the parties showed that the clear intent and purpose of the contract was to directly and




                                                         10
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 11 of 17 PageID 487




             A timeline of these deceptive acts reveals that:

             November 28, 2017: NuVasive put Absolute Medical on notice of potential litigation
             and instructed it to preserve relevant evidence. (Cardwell Dec., Doc. 19-2, at Ex. A).

             December 5, 2017: In an email exchange, NuVasive’s attorney asks Absolute
             Medical’s attorney to identify the sales representatives who remain affiliated with
             Absolute Medical—Thad Bragulla (“Bragulla”) and Brennan Burkhart (“Burkhart”)
             and to provide the non-compete agreements of those who allegedly separated from
             Absolute Medical—Hawley, Miller, and Gottstein. (Id. at Ex. B).

             December 13, 2017: NuVasive’s attorney sends Alphatec’s attorney a letter which
             informs him that NuVasive believes Hawley and Miller are violating their non-
             compete obligations by working for Alphatec in their former NuVasive sales
             territories. (Id. at Ex. C).

             February 6, 2018: Bragulla submits an unchallenged declaration which establishes
             that Hawley and Miller are working for Alphatec in their former NuVasive sales
             territories. (Bragulla Dec., Doc. 19-3, at ¶¶ 4–12).

             February 26, 2018: Soufleris submits a declaration which claims, among other
             things, that “Absolute Medical was not able to secure employment contracts or non-
             compete agreements for all its sales representatives.” (Soufleris Dec., Doc. 38-1, at ¶
             5).

             May 10, 2018: Absolute Medical’s response to interrogatory 15 (verified by
             Soufleris) states that it “is not a party to any other contracts or agreements, and its
             response to request for production 1 states that it possesses no contracts or other
             agreements with Hawley, Miller, or Gottstein. (Exhibit 1 at ¶ 15; Exhibit 5 at ¶ 1).

             May 14, 2018: Hawley’s response to interrogatory 10 and his response to request for
             production 1 state, in relevant part, that he “did not sign a non-compete agreement
             with Plaintiff or with Absolute Medical, LLC” and that he “is not subject to a non-
             compete agreement with Absolute Medical, LLC or NuVasive, respectively.”
             Similarly, his response to request for production 2 provides that he possesses no



    substantially benefit the plaintiff.” Steadfast Ins. Co. v. Corp. Prot. Sec. Grp., Inc., 554 F. Supp. 2d 1335, 1338
    (S.D. Fla. 2008). Respectfully, a plain meaning of the 2013 Independent Contractor Agreements demonstrates
    that NuVasive is a third-party beneficiary as, without limitation, it defines “Manufacturers” as an entity that
    supplies products to Absolute Medical, and states that the sales representatives cannot, during their employment
    and for one year after that employment ends, compete with those Manufacturers, solicit the employees,
    independent contractors, or other agents of the Manufacturers, and retain the confidentiality of the
    Manufacturer’s trade secrets. (Exhibit 7 at § 12).




                                                           11
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 12 of 17 PageID 488




              contracts or other agreements between himself, and AMI, 9 AMS, “and/or any other
              entity owned or controlled by Soufleris.” (Exhibit 6 at ¶ 10; Hawley Req. Prod.
              Resp., attached as Exhibit 8, at ¶ 1)

              It appears that Soufleris and Hawley made these untruthful statements about the

    existence of the former Absolute Medical’s sales representatives’ contractual obligations

    solely to aid in their scheme to unlawfully convert Absolute Medical’s business to AMS.

    Nevertheless, the fact that Absolute Medical required Hawley and Miller to sign these

    agreements is consistent with: (a) contractual obligations Absolute Medical owed to

    NuVasive; and (b) the fact that Soufleris—albeit through AMI 10—required the two sales

    representatives whom its attorney claimed to be still affiliated with Absolute Medical in the

    December 5, 2017 email exchange to sign contracts containing restrictive covenants. 11

    (Bragulla Dec., attached as Exhibit 10, Ex. A § 5; Burkhart Dec., attached as Exhibit 11, Ex.

    A § 5).

    9
      AMI stands for Absolute Medical, Inc. It is an unformed entity which Soufleris utilizes in conducting
    business on behalf of Absolute Medical. More specifically, as shown below, Soufleris required several
    Absolute Medical sales representatives to sign non-compete agreements with AMI.
    10
       AMI failed to respond to a subpoena NuVasive issued to it. Soufleris’ wife, Lindsey Soufleris, accepted
    service of this subpoena at 10525 Cromwell Grove Terrace, Orlando, Florida (which NuVasive reasonably
    believes to be his residence), on April 13, 2018, at 7:50 p m. (Aff. of Serv., attached as Exhibit 9). This is the
    same address identified as AMI’s address on its Independent Contractor and Termination of Contract General
    Release Agreements. However, NuVasive’s review of Florida’s Secretary of State’s records failed to identify a
    company named “Absolute Medical, Inc.” affiliated with that address or with Soufleris. That said, Florida
    Statutes Annotated Sections 607.1904 and 607.024 prohibit Soufleris from relying on his failure to actually
    form this corporation as grounds for not responding to the subpoena.

    11
      Despite the fact that NuVasive’s contract is with Absolute Medical and not AMI, these Independent
    Contractor Agreements:

              -identify AMI as the “Distributor;”
              -state that “Distributor is engaged in the business of representing NuVasive, Inc.;”
              -engage the sales representatives to sell NuVasive’s products;
              -fully comply with Section 5.09(e) of the Agreement’s requirement that Absolute Medical require all
               of its sales representatives to execute contracts which contain the same restrictive covenants that the
               Agreement imposes on it; and
              -reflect that Soufleris is AMI’s president.




                                                           12
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 13 of 17 PageID 489




            The Court should not allow the former Absolute Medical sales representatives to

    benefit from Soufleris’ and Hawley’s misstatements about the existence of their restrictive

    covenants or Soufleris’ scheme to dissolve Absolute Medical and form a new company that

    sells the same types of products to the same customers through the same sales

    representatives. In fact, the Court should enjoin Absolute Medical’s sales representatives

    (Hawley and Miller) from competing with NuVasive because: (a) contrary to the untruthful

    testimony in the record, they are subject to agreements which contain non-competition and

    non-solicitation obligations; and (b) even if they had no such agreements, their current

    employer and Absolute Medical’s successor, AMS, cannot do what Absolute Medical is

    contractually prohibited from doing.

        3. The Court should extend the requested preliminary injunction to Soufleris.

            Finally, the Court should also extend the requested preliminary injunction to Soufleris

    under either Florida Statute Sections 605.0101 et seq. or a common law piercing the

    corporate veil theory. Under the Florida Revised Limited Liability Company Act, members

    may be liable for: (a) breaching or failing to perform the duties as a member; and (b) if the

    member’s breach of (or failure to follow) those duties constitute “recklessness or an act or

    omission that was committed in bad faith or with malicious purpose.” Fla. Stat. § 605.04093.

    Similarly, under Florida law, liability may be extended to the member of an LLC by piercing

    the corporate veil if:

            (a) the member dominated and controlled the corporation to such an extent
                that the corporation's independent existence, was in fact non-existent and
                the shareholders were in fact alter egos of the corporation;




                                                  13
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 14 of 17 PageID 490




            (b) the corporate form must have been used fraudulently or for an improper
                purpose; 12 and

            (c) the fraudulent or improper use of the corporate form caused injury to the
                claimant.

    Seminole Boatyard, Inc. v. Christoph, 715 So. 2d 987, 990 (Fla. 4th DCA 1998). Under the

    common law theory, “[w]hen the conception of corporate entity is employed to defraud

    creditors, to evade an existing obligation . . . the courts will draw aside the web of entity, will

    regard the corporate company as an association of live, up-and-doing, men and women

    shareholders, and will do justice between real persons.” Dania Jai-Alai Palace, Inc., 450 So.

    2d at 1117 (citations omitted).

            There is no doubt that Soufleris, as Absolute Medical’s sole member, dominated

    Absolute Medical and owed Absolute Medical fiduciary duties of loyalty and care, and that

    he breached those duties in bad faith and with malicious purposes by, without limitation:

            (a) dissolving Absolute Medical three months after receiving $636,403 from
                NuVasive to offset a reduction in his territory (Singer Sec. Dec., Doc. 48-1, at ¶¶
                2–3);

            (b) after selling $633,088.10 of NuVasive products in November 2017 (and earning
                $124,970.02 of commissions), dissolving Absolute Medical and forming AMS to
                sell the same types of products sold by Absolute Medical to Absolute Medical’s
                customers, through Absolute Medical’s sales representatives (who continued to
                use their same email addresses) (Exhibit 1 at ¶ 3, Ex. A); and

            (c) providing knowingly false information to NuVasive and the Court about the
                existence of Absolute Medical’s sales representatives’ non-competition
                obligations in an attempt to consummate his scheme of moving Absolute
                Medical’s business to AMS.



    12
       For example, Florida courts found an improper purpose where the corporate entity is “a mere device or sham
    to accomplish some ulterior purpose, or is a mere instrumentality or agent of another corporation or individual
    owning all or most of its stock, or where the purpose is to evade some statute or to accomplish some fraud or
    illegal purpose.” Dania Jai-Alai Palace, Inc. v. Sykes, 450 So. 2d 1114, 1117 (Fla. 1984) (citations omitted).




                                                          14
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 15 of 17 PageID 491




    Further, Soufleris’ requirement that former Absolute Medical sales representatives Bragulla

    and Burkhart sign contracts which contain restrictive covenants with AMI (even though they

    worked for Absolute Medical) shows his complete disregard for the corporate form. Exhibit

    10 at Ex. A § 5; Exhibit 11 at Ex. A § 5).

            In sum, Soufleris is perpetrating a fraud on NuVasive and the Court. Pursuant to the

    Agreement’s terms and conditions, NuVasive paid Absolute Medical nearly $640,000 in

    August 2017. After that point, his sales representatives continued to sell a massive amount

    of NuVasive products. Indeed, Exhibit A to Absolute Medical’s interrogatory responses

    demonstrate that, in the month Soufleris illegally “resigned” from NuVasive, the two sales

    representatives he took to AMS earned nearly $125,000 in commissions 13 on sales made to

    the exact same surgeons they now service for AMS. Respectfully, Absolute Medical’s

    dissolution was a sham and Soufleris should not be allowed to profit from it. Accordingly,

    NuVasive requests that the Court extend the preliminary injunction to him.

                                               CONCLUSION

            In conclusion, if the restrictive covenants found in the Agreement and the newly-

    discovered 2013 Independent Contractor Agreements were not enforceable, Soufleris would

    not have dissolved Absolute Medical and formed AMS; nor would he and Hawley have

    consistently made false statements about the existence of the 2013 Independent Contractor

    Agreements. As Absolute Medical and AMS sell the same types of products to the same

    customers through the same sales representatives, it is clear that Soufleris committed these

    acts solely to escape Absolute Medical’s, the former Absolute Medical sales representatives’,

    13
      This annualizes to $1,500,000 per year, which is a significant sum for a small company with little to no
    overhead.




                                                       15
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 16 of 17 PageID 492




    and his contractual obligations. Respectfully, the Court should see through his charade and

    issue an injunction which precludes Soufleris, Absolute Medical, AMS, and all of their sales

    representatives from competing with business within the sales territory that NuVasive

    assigned to Absolute Medical.

    Dated: May 23, 2018

                                                Respectfully submitted,

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                                                16
Case 6:17-cv-02206-CEM-GJK Document 60 Filed 05/23/18 Page 17 of 17 PageID 493




                                  CERTIFICATE OF SERVICE

            I hereby certify that on May 23, 2018, a copy of the foregoing was filed electronically.
    Notice of this filing will be sent by operation of the Court’s electronic filing system to all
    parties indicated on the electronic filing receipt. All other parties will be served by regular
    U.S. Mail. Parties may access this filing through the Court’s electronic filing system. The
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                                                  17
